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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,
               v.
                                                       17-CR-511 (SHS)
 REGGIE GOODWIN,
                              Defendant.               ORDER



SIDNEY H. STEIN, U.S. District Judge.
    On June 7, 2018, this Court sentenced defendant Reggie Goodwin to sixty months of
incarceration after he pleaded guilty to discharging a firearm during and in relation to a
drug-trafficking offense in violation of 18 U.S.C. § 924(c)(1)(A)(iii). (J., ECF No. 221.) He is
currently serving his sentence at the Federal Correctional Institution in Oxford, Wisconsin
(“FCI Oxford”), and is projected to be released in March 2022. (Def’s Mot. at 6-7, ECF No.
373.)
    The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), allows a court to grant a
sentence reduction upon a defendant’s motion for “extraordinary and compelling reasons,”
provided the “defendant has fully exhausted all administrative rights to appeal a failure of
the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from
the receipt of such a request by the warden of the defendant’s facility.” 18 U.S.C.
§ 3582(c)(1)(A). Goodwin sent a request for a sentence reduction under the compassionate
release statute to the warden of his facility on October 9, 2020. (Def’s Mot. at 2, ECF No. 373.)
On October 19, 2020, the warden denied his request. (Id. at 2-3.)
    Goodwin’s facility, FCI Oxford, currently has 41 active COVID-19 cases out of 902 total
inmates. See Def.’s Mot. at 6, ECF No. 373; COVID-19 Cases, Fed. Bureau Prisons,
https://www.bop.gov/coronavirus/ (last updated Oct. 29, 2020). Courts have recognized that the
risks of COVID-19 infection for defendants with pre-existing health conditions can provide
“extraordinary and compelling reasons” for a sentence reduction. See, e.g., United States v.
Graham, No. 16-CR-786-02, 2020 WL 5604050, at *3 (S.D.N.Y. Sept. 17, 2020); United States v.
Zukerman, 451 F. Supp. 3d 329, 334-35 (S.D.N.Y. 2020).
     However, Goodwin provides no “extraordinary and compelling reasons” warranting
compassionate release other than the impact of the COVID-19 pandemic on prisoners. (Def.’s
Mot. at 3-6, ECF No. 373.) Courts in this district have rejected arguments based only on a
defendant’s “status as an inmate during the COVID-19 pandemic and generalizations concerning
the spread of COVID-19 in federal detention centers across the country.” United States v. Kaba,
No. 19 CR. 242 (PAC), 2020 WL 2520807, at *3 (S.D.N.Y. May 18, 2020). Because Goodwin, a
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relatively young man at age 27, fails to present evidence of any underlying health conditions that
would put him at a high risk for severe illness, the Court denies Goodwin’s motion for
compassionate release. See PSR at 2, ECF No. 264; People Who Are at Higher Risk for Severe
Illness, Ctrs. for Disease Control & Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-at-higher-risk.html (last updated Sept. 11, 2020) (identifying
“older adults and people of any age who have serious underlying medical conditions” as those
who “might be at higher risk for severe illness from COVID-19”).
     Accordingly, IT IS HEREBY ORDERED that Goodwin’s motion for a sentence reduction
pursuant to 18 U.S.C. § 3582(c)(1)(A) is denied. The Clerk of Court is directed to mail a copy
of this Order to defendant as follows: Reggie Goodwin [27656-055], FCI Oxford, Federal
Correctional Institution, P.O. Box 1000, Oxford, WI 53952.
Dated: New York, New York
       November 2, 2020




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